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Mark S. Cohen
+1 (212) 957-7600
mcohen@cohengresser.com

Christian R. Everdell
+1 (212) 957-7600
ceverdell@cohengresser.com
                                                              October 31, 2023

VIA ECF

The Honorable Lewis A. Kaplan
United States District Court
Southern District of New York
United States Courthouse
500 Pearl Street
New York, New York 10007

         Re: United States v. Samuel Bankman-Fried, S6 22 Cr. 673 (LAK)

Dear Judge Kaplan:

        On behalf of our client, Samuel Bankman-Fried, we respectfully submit the below
proposed jury charge to be included at page 8, line 8 of the Court’s draft jury charge as amended
per the Government’s suggestion during today’s charge conference.

                  In assessing whether the government has proved the existence of a
                  relationship of great confidence and trust, you should consider that such a
                  relationship involves discretionary authority and dependency, and at the
                  heart of the relationship lies reliance, and de facto control and dominance.

         This language is adapted from United States v. Skelly, 442 F.3d 94, 98-99 (2d Cir. 2006).

                                                        Respectfully submitted,


                                                           /s/ Mark S. Cohen     .
                                                        Mark S. Cohen
                                                        Christian R. Everdell
                                                        S. Gale Dick
                                                        Sharon L. Barbour
                                                        COHEN & GRESSER LLP
                                                        800 Third Avenue, 21st Floor
                                                        New York, New York 10022
                                                        (212) 957-7600
                                                        mcohen@cohengresser.com
                                                        ceverdell@cohengresser.com
                                                        sgdick@cohengresser.com
                                                        sbarbour@cohengresser.com

cc:   All counsel of record (via ECF)
